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Exhibit B
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& 540-932-2300

15 years
t 540-932-2322
@ 441 Mt. Torrey Rd. Lyndhurst, VA 22952
@® www.mathers-team.com

November 7, 2023

RE: 1665 Seibel Drive NE, Roanoke, VA 24012

Mathers Construction Team has been in business for over 70 years. Like most construction companies,
Mathers began as a residential contractor and eventually shifted into commercial construction. Since 1948,
our dedicated Team of men and women have been providing cost-effective, design-build, and construction
management solutions for businesses, towns, colleges, and industrial plants along the East Coast.

By combining the experience and abilities of our employees, we can offer exceptional planning,
comprehensive project management, and reliable service throughout the life cycle of your project.

Using multiple site visits, we offer a Lump Sum Proposal in the amount of

Three Hundred Sixty-One Thousand, Six Hundred Dollars ($361,600)

In addition to the pricing above, please see the attached estimate breakdown for further clarification.

Upon yout review of the information enclosed within, we look forward to answering any questions and
providing additional detail needed.

Sincerely5

LO /
Lfosh Fox

Preconstruction Manager

540-932-2300 | 441 Mt. Torrey Rd. Lyndhurst, VA 22952 | www.mathers-team.com
TEE a LL a Lf LL LL LLB LoL L BD aaa a HA
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ee
MATHERS

COMSTRUCTION TEAM
Since 1948

Estimate: 5701100 YRC Bldg Repairs -
Seibel Dr.

Page 3 of 3

Status: Active
Contact:
Date: 11/07/2023

Estimate Totals

Description Total Estimate Job % Cost/Unit
| 02 EXISTING CONDITIONS
| 02.82023 General Cleaning $5,655 | 1.56%
| 03 CONCRETE
| 03.01301 Concrete Floor Crack Repairs $8,961 2.48%
| 03.82171 Exterior Concrete Repairs $9,067 2.51%
| 05 METALS
05.12001 Structural Steel Assessment & Repair $15,161 | 4.19%
05.52000 Metal Railings $6,187 | 1.71%
| 08 DOORS AND WINDOWS
| 08.14000 Remove & Replace Doors, Frames, and Hardware $3,248 | 0.90%
| 08.31000 Repair & Replace Overhead Doors $67,291 | 18.61%
| 09 FINISHES
09.61000 Clean & Seal Existing Concrete Floor $13,623 | 3.77% |
09.91263 Interior Finishes - Drywall, Paint, Floors $78,772 21.79%
11 EQUIPMENT
11.13001 Repair Dock Bumpers $7,188 | 1.99% |
| 13 SPECIAL CONSTRUCTION
| 13.34200 Metal Building Repairs (Including Insulation) $73,492 | 20.32% |
22 PLUMBING
| 22.66011 Plumbing Repairs $17,680 | 4.89% |
| 23 HVAC
23.84170 HVAC Repairs $4,846 | 1.34%
26 ELECTRICAL
26.56014 Electrical Repairs $26,847. 7.42% |
| 32 EXTERIOR IMPROVEMENTS
32.91000 Landscaping $23,573 6.52%
| Total Estimate $361,589 100%

